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Contrary to P FF—253-255, the Court finds that Dover’s Newsletter was
nothing more than an effort of the Defendants to address what they
perceived to be inaccurate information concerning the actual curriculum
policy and its actual effect on classroom instruction as well as mistaken
claims that were being made on issues relating to the curriculum change. D
FF 484-92; 534-536.

a. For the same reason, the presentation made by Dr. Behe, who takes
the position that ID is not religion, provides no basis for a claim that
the Defendants are trying to advance religion.

Contrary to P-FF 256-262, the Court finds that the Defendants are not

responsible for the effects complained of by the Plaintiffs because these are

not the primary effects of the Board’s curriculum policy.

a. The Defendants are not responsible for the Plaintiffs’ belief that the
source of intelligent design is God—that conclusion is one drawn by
the Plaintiffs and not offered by the Defendants. The Plaintiffs point
to no evidence that the statement informs student that they source of
intelligent design is God, and the evidence shows that ID does not

require any supernatural agency or teach the source of design is God.

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The Plaintiffs are entitled to their beliefs, but the Defendants are not
responsible for them. Cf. P-FF 256-57.

b. The Defendants’ policy does not interfere with the Plaintiffs’ right to
teach their children religion is unsupported by the evidence. The
parents can opt-out of the statement if they believe that it interferes
with their right to teach their children about religion. Cf. P-FF 256-
37, 259. In any event, this is a Free Exercise claim which is neither

advanced in this case nor tenable under the law.

c. The Defendants are not liable for comments made by students. Cf
P—FF 258-59.
d. The Defendants are not liable for comments or conduct of members

of the community. Cf P—FF 258-260, 262.
€. Finally, with respect to P-FF 262, the Court finds statements
advanced here provide no basis for liability.

1. The Plaintiffs assertion that Yingling was coerced to vote for
the curriculum change is a mischaracterization of Sneath’s
testimony; as Sneath admitted, she cannot make any connection
between any comment made about her religion and Yingling’s

vote on the curriculum policy. v. 15; p.106:9-19. There is no

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evidence that Yingling was coerced to vote for the curriculum

change.

Spahr has no personal experience with the hearsay she

recounts. v. 14; p. 35:35. In any event, the Defendants are

not liable for comments made by community members.

Further, the Court does not believe the statements that Brown

attributes to Bonsell and Buckingham.

(1)

(2)

Bonsell has denied telling Brown she would go to hell
and he does not strike the Court as the kind of man who
would make such a statement. In contrast. Brown’s
testimony regarding questions about religion shows a
penchant for tendentious manipulation of the facts.
Likewise, Brown did not testify that Buckingham called
her an atheist but did so testify at trial—it seems highly
improbable that Brown would not remember such a
comment during her deposition but would at trial and no
explanation is offered for this recovery.

In any event, the Defendants in this action, i.e. the Board

and the District, would not be liable for random and

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unauthorized statements of Board members which are
plainly not a primary effect of Dover’s curriculum
change, but (if they had been said) offensive comments
made by individuals elected to public office—not an
Establishment Clause violation.
Contrary to P-FF 263-70, the Court finds that newspaper articles, editorials,
and letters to the editor, provide no basis for finding that the Defendants’

policy has an unlawful purpose of effect.

a. The newspaper materials were not admitted into evidence and will not
be.
b. The Defendants are not liable for statements made by third parties

about the Board’s policy.

Contrary to P-FF 271-286, the Court refuses to discredit the testimony of all

the board members based on the discrepancies asserted.

a. As noted above, the admitted discrepancies in Bonsell’s testimony
relating to the donation of the Pandas text do not warrant disregarding
the whole of his testimony, which is corroborated by his actions and

the testimony of others.

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Upon close questioning he admitted he mispoke, but the
testimony highlighted by the Plaintiffs show that he was “trying
to think about exactly how it was done,” see P—FF 271 (a), and
on redirect he admitted that he was nervous and under pressure
at the deposition. v. 34; p. 12:8-24.

It is unremarkable that Bonsell should be able to remember
more about Charlotte Buckingham’s statement to the Board
after sitting through trial testimony recounting the statement
than he did at his deposition.

Bonsell’s testimony regarding his interest in Creationism is the
best he could do under the circumstances. Neither Callahan or
others remembered what he said either.

Geesey’s testimony cannot be disregarded because in
preparation for trial the scrutiny of her letter to the editor
helped her realize that if she was taking issue with Eveland’s
charge that the Board was considering teaching Creationism,
she must have heard of ID as of that date. v. 31; p. 196:18—p.
197:5. She also testified in her deposition that Pandas was

brought up in June or July. v. 31; p. 200:9-15.

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As Defendants note, other evidence corroborates her
recollection that ID was discussed as of this time. D FF
134-244.

Geesey believes she was questioned about the letters after she
was asked for her recollection of when ID first came up at
board meetings; and she believes it was after so the letters
would not have refreshed her recollection prior to this line of
questioning in her deposition. v. 31; p. 205:5--8. Plaintiffs
have made no showing that in her deposition Geesey was
questioned about this correspondence before she was
questioned about her recollection of when ID was discussed at
board meetings. Under these circumstances, there is no basis to
discount Geesey’s very understandable observation that in
preparing to testify she realized she must have been aware of
ID and believed it was a scientific theory as of the date she
wrote the letter taking issue with Eveland’s charge—indeed if
she did not have that belief it is difficult to see why she would
bother writing. As for the notion that she was advocating

teaching Creationism, the Plaintiffs’ reading of the letter

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neglects the relationship it has to Eveland’s assertions,
explained by Geesey at trial, as well as Geesey’s observation
that if Eveland wanted to teach Creationism she was free to do
so pursuant to her own ideology. Finally, Plaintiffs go to far
when they would make too much of Geesey’s observation that
Christianity played an important part in the migration to, and
history of, this nation, something that has been acknowledged
in opinions of the United States Supreme Court. This historical
observation is no reason to believe that Geesey was acting for a
religious purpose.

The Plaintiffs also attempt to make to much of the Defendants’
failure to request a written retraction of inaccurate reports.
There is no duty to do so, The same goes for newspaper articles
etc. The Plaintiffs cannot prove their claim by proving the
Defendants read the paper or did not.

As for discrepancies in memory and the crediting of newspaper
reports, these are common place. The Plaintiffs, science
teachers who are opposed to the Board’s policy, and reporters

(who wrote the quotes and are plainly committed to their

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veracity by reason of professional reputation if nothing else)
are just as easily susceptible to the charge that they are
vouching for statements because of their own interests or
agendas.

As for recollections by various Defendants concerning
whatever statements Buckingham made and when, this Court
will not make too much of that. The record reflects that
Buckingham was wrestling with Oxycontin during his service
on the board and by all accounts made several unusual and
provocative statements during his tenure on the board. Given
his record, it is not all that surprising that those who worked
with him might regard this as “spouting off’ and discount it
precisely because it Buckingham did not speak for them or
control the board. As Defendants have noted, members of the
board disregarded Buckingham’s wishes—and took the position
that he did not speak for the Board—in numerous instances.
Under these circumstances, their failure to attach importance,
and therefore remember, statements by Buckingham is hardly a

basis to discount their testumony. The same is true with respect

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to Buckingham himself. He frankly stated that he had a
problem with Oxycontin abuse that makes it difficult for him to
remember and date events. v. 30; p. 6:18—p. 8:6. There is no
reason to disbelieve that Buckingham had this drug problem
which was a matter of public record, see P-FF 273(d), and no
reason (or evidence) to doubt his claim that it impaired his

faculties both at the time and afterwards.

As for the reporters, there is reason to believe that not only did their

instinct to preserve their professional reputation influence their

testimony but also that they were not entirely accurate.

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According to Bernhard-Bubb, one of the main subjects
discussed at the June 7, 2004, school board meeting was
creationism. But, she only attributes the word creationism to
school board members in her summaries and not in any direct
quotes of statements made by school board members. v.31
(Bernhard-Bubb); p. 26:14-p. 27:9; Exhibit 804.
Bernhard-Bubb did not verify the accuracy of quotes with the
persons she quoted in her articles; she did not verify the

accuracy of her summaries of statements attributed to school

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board members in her articles; and she did not verify with
school board members the context of any of the statements she
attributed to them in her articles. v.31 (Bernhard-Bubb);
p.27:10-p. 28:8; e.g. Exhibit 804.

According to Bernhard-Bubb, the focus of her article and the
June 7, 2004, school board meeting was the subject of
creationism in textbooks, but she never directly quotes a school
board member or school official as using the term creationism.
The term only appears in her summaries of statements and she
did not check the accuracy of the summaries or the context of
the statements with those to whom she attributed the summaries
or statements. v.31 (Bernhard-Bubb); p.32:3-19; Exhibit 805.
According to Bernhard-Bubb, the focus of the June 14, 2004,
school board meeting was on creationism and the textbook, and
the debate lasted 1-1/2 hours. Yet, she offered no direct quotes
from a board member or school official containing the word
creationism. The term creationism appears only in Bernhard-
Bubb’s summaries. v.31 (Bernhard-Bubb); p.33:14-25; p.

34:5-23. Also, she never verified the statements or context of

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_ Statements with person to whom she attributed the statements.

v.31 (Bernhard-Bubb); p.36:16-22; Exhibit 806.

According to Bernhard-Bubb, the August 2, 2004, school board
meeting dealt with the Biology textbook and the companion
book, Of Pandas and People, that teaches Intelligent Design.
v.31 (Bernhard-Bubb); p.38:18-20, p. 40:7-11; Exhibit 807. At
the meeting, Buckingham referred to Of Pandas and People as
only teaching Intelligent Design. Buckingham did not say that
Of Pandas teaches creationism. v.31 (Bernhard-Bubb);
p.39:13-23; Exhibit 807. Yet, in the introductory paragraph of
her article, Bernhard-Bubb states that “the debate over teaching
creationism alongside evolution in the district is far from over.”
Title of article of Exhibit 808 is “Michigan law center offers a
defense of creationism.,” Exhibit 808. Title written by editor
and not Bernhard-Bubb. v.31 (Bernhard-Bubb); p.40:19-25;
Exhibit 808. Bernhard-Bubb from a Thomas More Law
Center letter to Buckingham and quoted the most relevant part
of letter. The quote does not refer to creationism and discusses

a textbook that presents an alternative theory to evolution.

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Bernhard-Bubb states in article that Buckingham said that
Thomas More Law Center recommended Of Pandas and
People and she testified that Buckingham referred to Of
Pandas as teaching only Intelligent Design and not
creationism. v.31 (Bernhard-Bubb); p.42:7-p.43:9.

In Exhibit 809, which dealt with the September 6, 2004,
meeting, the title of the article mentions creationism. The
editor writes the title, not Bernhard-Bubb. The titles are
intended to catch the attention of the reader. v.31 (Bernhard-
Bubb); p. 43:14-22.

In first paragraph of Exhibit 809,, Bernhard-Bubb writes that
the school board is still “considering purchase of a companion
textbook to teach creationism as part of the district’s high
school biology curriculum.” Exhibit 809. The companion
textbook she is referring to is Of Pandas. Of Pandas had only
been referred to at school board meetings as teaching
Intelligent Design. From Bernhard-Bubb’s research
concerning Of Pandas and from what was mentioned about Of

Pandas at the school board meetings, there is nothing to

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indicate that Of Pandas 1s a creationism book. v.31 (Bernhard-
Bubb); p.43:23-p.44:21; see also v.31 (Bernhard-Bubb); p.
39:24-P.40:6.

Bernhard-Bubb testified that in November 2004 that school
board members complained about inaccuracies in the reporting.
V.31 (Bernhard-Bubb); p. 49-11-14.

Joseph Maldonado does not have the person he quotes verify
the accuracy of the quote. v.31 (Maldonado); p. 95:7-23.
Maldondo does not have the person he paraphrases verify the
accuracy of the paraphrase. v.31 (Maldonado); p. 95:10-23.
Maldonado does not have the person he quotes or paraphrases
verify the accuracy of the context in which the quote or
paraphrase is used. v.31 (Maldonado); p.95:21-p.96:6. The
titles of his articles are written by editors and are designed to
get the attention of the reader. v.31 (Maldonado); p. 55:4-13;
p.113:14-24.

Maldonado never directly quoted any school board member
using the word creationism, even though, according to

Maldonado, the June 7, 2004, meeting dealt with creationism as

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it relates to the selection of a textbook. v.31 (Maldonado); p.
106:2-25; Exhibit 790. The word creationism only appears
when Maldonado 1s paraphrasing. v.31 (Maldonado); p. 107:1-
4; v.31 (Maldonado); p. 109:6-25; p.112:10-21; Exhibits 791,
792. The same applies to Maldonado’s reporting of the June
14, 2004, school board meeting. v.31 (Maldonado); p.116:1-
p.118:19; Exhibit 793.

According to Maldonado, intelligent design was mentioned at

the July 12, 2004, school board meeting. v.31 (Maldonado); p.

119:4-20; Exhibit 794. And, as with other meetings,

Maldonado has no direct quotes from board members or school

officials that includes the use of the word creationism. v.31

(Maldonado); p.119:21-25,

According to Maldonado, Of Pandas and People and
intelligent design were discussed at the August 2, 2004, school
board meeting, and Bill Buckingham referred to Of Pandas as
an intelligent design book. Buckingham did not refer to the
book as a creationism book. v.31 (Maldonado); p.120:1-19;

Exhibit 795.

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xiv. According to Maldonado, creationism was not mentioned
during the October 18, 2004, school board meeting. The topic
of discussion was the inclusion of intelligent design in the
biology curriculum. v.31 (Maldonado); p.121:16-22; Exhibit
797.

xv. Maldonado recalls school board meetings when the school
board members generally complained about the accuracy of
news reporting. v.31 (Maldonado); p.122:18-p. 123:12.

Contrary to P-FF 287-290, the Court finds that the Plaintiffs have failed to

prove that the Board’s stated reason for its policy is a pretext. See D CL

907-931.

a. Here again the Court notes that the Plaintiffs assertions here are
contrary to the weight of the evidence which shows that the board did
have a bona fide belief that it was pursuing a legitimate educational
goal based upon information board members had in their position
concerning gaps and problems in ET as well as information about ID.

b. The long process of consultation with science teachers and effort to
create consensus defies any claim that the board members were bent

on an illegal agenda.

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c. The consultation with the Solicitor and effort to allay teacher
concerns about possible liability

d. The Plaintiffs sense that the Defendants should have known better
than to credit this information amounts an indictment of the system
whereby public education is governed; but that system is not on trial
here.

e. Ultimately the Board reached an impasse with the faculty.
Confronted with this impasse the Board decided to disregard the
objections of for a number of simple and understandable reasons.
First, the Board believed ID was a scientific theory that the teachers
objected to while maintaining that they were not trained in, or
qualified to teach, and as to which the teachers never advanced any
systematic scientific critique. Second, the faculty continually asserted
that ID was Creationism (with which the Board disagreed in good
faith) such that teaching it would be illegal, claims the Board saw as
outside the expertise of the science faculty and unfounded because
the policy was not understood by the Board to require the faculty to

teach ID in any event.

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CONCLUSIONS OF LAW RELATING TO

THE PLAINTIFFS’ ARGUMENTS

 

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Conclusions With Respect To Preliminary Matters.

This Court has admitted a certain limited number of newspaper articles into

the record for a specific purpose. The Court will not admit any other

newspaper articles because the articles are hearsay that is not within an
exception which are not admissible for any purpose.

a. The Establishment Clause of the First Amendment is not an exception
to the Federal Rules of Evidence. Likewise, the “endorsement test”
glossed on to the Establishment Clause for certain purposes is not an
exception to the Federal Rules of Evidence. Plaintiffs reliance on the
“imputed knowledge” of a reasonable observe provides no authority
for their argument that the basis for the knowledge imputed to the
hypothetical reasonable (and reasonably informed) observer is based
on hearsay and Plaintiffs’ cite no case law holding on this evidentiary
point and it is fundamental that a case is not authority for a

proposition not raised and decided. See, e.g., Brecht v. Abrahamson,

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507 U.S. 619, 630-31 (1993) (decision that does not squarely address
issue is not binding under doctrine of stare decisis); U.S. v. L.A.
Tucker Truck Lines, Inc., 344 U.S. 33, 38 (1952) (case is not binding
precedent on issue not raised in brief or argument or discussed in
opinion of court); Webster v. Fall, 266 U.S. 507, 511 (1925)
(“Questions which merely lurk in the record, neither brought to the
attention of the Court nor ruled upon, are not to be considered as
having been so decided as to constitute precedents”).

b. Further, the Plaintiffs’ effort to admit this hearsay for the purpose of
proving the state of mind of the Dover community is flawed because
is fundamental that a belief cannot prove the fact believed. See FRE
803(3) (allowing hearsay to establish a state of mind, but not to prove
the fact...believed hwith exceptions not relevant here]). The reason
for the limitation is obvious: if a person’s mere belief in a fact could
be used to proof the fact believed, then any number of
unsubstantiated beliefs could give rise to liability-no matter how
insupportable. So the effort to prove that the Board’s policy has the
effect of advancing religion based on the belief (by some) that the

policy advances religion is plainly illicit.

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c. The effort to prove the effect of the Board’s policy based on a
community's state of mind is just a fancy (and farfetched) effort to
prove a fact by supposed proof of a community’s belief. And given
that the Plaintiffs’ would have this Court make that finding of
“community belief” based on hearsay in newspaper accounts, it
amounts to an effort to prove a fact (i.e. the Board’s curriculum
policy has the effect of advancing religion) based on double hearsay,
the newspaper and the community’s alleged state of mind. One need
only consider recent scandals involving fabricated newspaper stories
to see the pernicious results of such an evidentiary ruling, indeed on
this theory a man might be convicted on the basis for a wholly false
story.

d. Further, this Court declines the invitation to use newspaper articles
and letters to the editor to engage in rank speculation concerning
what the community at large thought about the Board’s policy as a
result of these reports. There is plainly no reliable basis for an
opinion, never mind a finding of fact, as to whether the community

read these reports or gave them any credence. There is no way to

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determine whether views expressed in the paper were representative
or minority views.

e, Finally, evidence of a community’s state of mind is not material. As
Defendants have already noted, the notion of divisiveness asserted by
the Plaintiffs does not support an Establishment Clause violation.

See Lynch v. Donnelly, 465 U.S. 668, 683-84 (1984)(rejecting claim
that political divisiveness provides basis for Establishment Clause
violation).

f. These are just some of the reasons why Courts do not find facts based
upon newspaper accounts or letters to the editor but based on
evidence admitted pursuant to the Federal Rules of Evidence for
purpose that are proper under the governing law. As noted above,
and discussed further below, the these press reports or for that matter
the effects of these reports do not provide a basis for liability in this
case.

The Court will not consider the additional exhibits included by Plaintiffs in

their post-trial submissions. Post-trial submissions do not authorize adding

new evidence or new exhibits to the record, and the record reflects no

agreement of the parties on the addition of new exhibits not admitted at

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trial. For this reason, the Court will not consider any new exhibits
including, but not limited to, the expert reports of Barbara Forrest (and
attachments); exhibits attached to deposition designations; and any
additional materials referenced in or attached to post-trial submissions of
the parties, including newspaper articles referenced in Plaintiffs Proposed
Findings Of Fact and Conclusions of Law or supporting brief."

34. The Court also notes that the Plaintiffs cannot rest their claim on a supposed
interference with their right to direct the religious education of their
children. This assertion amounts to a Free Exercise claims which the
Plaintiffs have not advanced in their Complaint or afterwards. See
Plaintiffs’ Brief in Opposition To Defendants’ Motion To Dismiss at 15.
The claim is also factually and legally untenable given the uncontradicted
evidence that the Plaintiffs can opt-out of the statement resulting from the
policy. See DFF 504-506; 522-523. To the extent the Plaintiffs argue that
DASD’s policy amounts to advancing religion in the classroom, that claim

is addressed below.

 

"Defendants waive no objections to evidence made in pretrial proceedings or at trial. Defendants do not
object to any exhibits admitted on the record but inadvertently omitted from the exhibit lists of the Court or the
parties but do object to all additional exhibits submitted by the Plaintiffs in connection with their post-trial
subrnissions.

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The Plaintiffs Have Failed to Prove That the Primary Effect of DASD’s
Curriculum Change Is to Advance Religion.’

Plaintiffs effort to demonstrate that the Defendants curriculum policy has
the primary effect of advancing religion requires recourse to fundamental

principles of governmental liability.

With respect to the Establishment Clause it is fundamental that
Plaintiffs are required to show that the primary effect of government
policy is to advance religion. See e.g. Edwards v. Aguillard, 482 U.S.
578, 582-83 (1987). This principle has two corollaries typical of
Establishment Clause jurisprudence and critical to determining
liability. A violation of the Establishment Clause cannot be based on
a showing that the secondary or incidental effects of a government
policy can be shown to advance religion. See e.g. Hernandez v. IRS,
490 U.S. 680 (1988)(tax exemption to religious organizations does
not violate Establishment Clause because benefit to religion was not
primary effect of statute); Bowen v. Kendrick, 487 U.S. 589
(1988)(federal law using religious organizations to provide pregnancy

counseling did not violate Establishment Clause because any benefit

 

‘In Liew of another brief the Defendants have addressed the Plaintiffs’ contention that the endorsement test

applies in this case in connection with their proposed conclusions of law.

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to religion was not primary effect of statute). Relatedly, no violation
of the Establishment Clause is made out any benefit to religion is not
the result of government action but results instead from the actions of
private individuals. Cf Zelman v. Simmons-Harris, 536 U.S. 639,
(2002)(voucher program did not violate Establishment Clause even
though majority of students enrolled in religiously affiliated schools
where public funds flowed as a result of private choices); see also
Zobrest v. Catalina Foothills School District, 509 U.S. 1, 8 (1993);
Witters v. Washington Dept. of Services for the Blind, 474 U.S. 481,
486-89 (1986): Rosenberger v. University of Virginia, 515 U.S. 819,
842-44 (1995)(government does not advance religion by making
facilities or funds available to students which engage in religious
activity).

b. In bears noting that these principles shaping governmental liability
are not unique to the law governing the Establishment Clause. Thus,
for example, it is fundamental to the law governing standing that in
order to have a claim against the government, the complained of
wrong must be “fairly traceable” to government action even to state a

claim. See e.g. Lujan v. Defenders of Wildlife, 504 U.S. 555 (1992);

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Allen v. Wright, 468 U.S. 737 (1984). For the same reason,
government liability does not arise unless the harm is caused by
government policy. See e.g. Monell v. Dept. of Social Services, 436
U.S. 658, 694 (1978)(governmental liability is only proper when
harm is caused by governmental policy). Relatedly, the government
is not liable for harm caused by the unauthorized acts of government
employees—precisely because those acts are not the primary effects of
government policy. See e.g. Collins v. City of Harker Heights, 503
U.S. 115, 121, 112 S.Ct. 1061, 117 L.Ed.2d 261 (1992). And of
course there can be no governmental liability for acts of third parties
because there is no state action. See e.g. American Mfrs Mut. Ins. Co.
v. Sullivan, 526 U.S. 40 (1990).

C. Thus it is clear that Dover’s liability must be premised on the primary

 

effects of its policy, not incidental or secondary effects of its policy,
not harm caused by third parties, and not effects caused by individual
choice. It is also clear that the Defendants are liable for the primary
effect of the curriculum change 1.e. its impact on classroom
instruction. The Defendants are not liable for metaphysical

extrapolation by the Plaintiffs or others regarding IDT; the Plaintiffs

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are entitled to their opinions concerning the source of intelligent
design—but the government is not hable for that opinion. The
Defendants are not liable for the decision of an individual student to
go to the library and examine Pandas. The Defendants are not liable
for statements or conduct of students or members of the community
occasioned by the curriculum change, even comments that are
deplorable and disturbing to the Plaintiffs. And the Defendants are
not liable for the conduct of reporters or the effects of press reports,
which are the acts of independent third parties who are not officers or
agents of the state.
The Court finds that the Plaintiffs have failed to prove that the primary
effect of the Defendants curriculum change is advance religion. not to
change in classroom instruction. See infra at D FF 12, 26-28; See also D
FF 610-629; D CL 932-950;
The Court also finds that the “endorsement test” does not apply in this case.
In neither Edwards v. Aguillard, 482 U.S. 578 (1987) nor Epperson v.
Arkansas, 393 U.S. 97 (1968), the only controlling cases to have addressed
a similar issue, did the Court apply an endorsement test, and certainly not

anything as far reaching as Plaintiffs propose. The “endorsement” test,

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properly understood, is a modification of the Lemon test that is principally
used in cases involving religious displays on government property, for the
obvious reasons that will be discussed further below. See, e.g., Modrovich
vy. Allegheny County, 385 F.3d 397, 401 (3 Cir. 2004) (“[T]he
‘endorsement’ test modifies Lemon in cases involving religious displays on
government property. The endorsement test dispenses with Lemon’s
‘entanglement’ prong, and, combining an objective version of Lemon’s
‘purpose’ prong with its ‘effect’ prong, asks whether a reasonable observer
familiar with the history and context of the display would perceive the
display as a government endorsement of religion.”). Modrovich, supra,
recognizes that the so-called “endorsement test” was announced by Justice
O’Connor in her concurring opinion in Lynch v. Donnelly, 465 U.S. 668
(1984), a religious display case, and used again in County of Allegheny v.
ACLU, 492 U.S. 573 (1989) and Capital Square Review & Advisory Bd. v.
Pinette, 515 U.S. 753 (1995), both religious display cases.

Thus, the endorsement test is applicable in cases involving overtly religious
symbols, such as a créche, the Ten Commandments, and the Latin cross.
The endorsement test for these types of cases is an inquiry into the nature of

the forum and the physical setting of the display. It seeks to determine

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whether a reasonable observer would conclude that the message conveyed
by the overtly religious symbol in its present context is a government
endorsement of religion. For example, in Lynch, the Court held that the
créche was permissible because the physical setting included various secular
symbols of the holiday season. See Lynch, 465 U.S. at 671. Therefore, a
reasonable observer would not conclude that the government was endorsing
religion by the display of this overtly religious symbol in its physical
context. /d. at 692 (O’Connor, J., concurring). In comparison, in County of
Allegheny, the creche at issue stood alone on the “Grand Staircase,” a
prominent location in which others were not permitted to erect similar
displays. See County of Allegheny, 492 U.S. at 599-600, n.50. Therefore, a
reasonable observer would conclude that the government was endorsing
religion by the display of this overtly religious symbol in its present context.
Id. In Capital Square Review & Advisory Bd., the KKK sought to display a
Latin cross in the plaza next to the state capitol. Reviewing the history and
context of the community and forum in which the cross would be displayed,
the Court concluded that an informed reasonable person (not just a stranger
who wandered past the display for the first time) would conclude that the

government was not endorsing religion because the observer would know

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that the forum was open for all forms of speech, not just religious
expression.

Thus, for the obvious reasons set forth in these opinions, the broader history
and context of the forum and community in which the religious display
appears are relevant to the endorsement inquiry, as is the fact that the
reasonable observer is informed of such history. See also Freethought
Soc’y v. Chester County, 334 F.3d 247, 257 (3" Cir. 2003) (holding that a
reasonable observer, aware of the history of the 82-year-old plaque bearing
the Ten Commandments, would not have viewed the county’s refusal to
remove the plaque as an endorsement of religion); Modrovich v. Allegheny
County, 385 F.3d 397 (3™ Cir. 2004) (upholding the public display of a
plaque bearing the Ten Commandments and noting that in applying the
endorsement test, the court does not examine the government’s motivations
in displaying the plaque, but considers the plaque’s effect on the reasonable
observer, determining whether the reasonable observer would perceive it as
an endorsement of religion).

The endorsement inquiry that was applied in these religious display cases
was also applied, in some respects, in Rosenberger v. Rector & Visitors of

the Univ. of Va., 515 U.S. 819 (1995) (striking down public university’s

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policy of excluding student religious groups from facilities available to
other student groups) and Lamb's Chapel v. Center Moriches Union Free
Sch. Dist., 508 U.S. 384 (1993) (striking down school district policy that
allowed private groups to use school facilities during off-hours for a variety
of purposes, excluding, however, religious purposes). See Capital Square
Review & Advisory Bd., 515 U.S. 763-66. These cases, including Capital
Square Review & Advisory Bd., were ultimately decided under the Free
Speech Clause of the First Amendment and not the Establishment Clause.
The forum/context aspect of the endorsement inquiry was critical. This
forum/context analysis, which is a central feature of the “endorsement test,”
has also been applied in cases involving equal access of government
facilities to overtly religious groups or religious organizations. See Good
News Club v. Milford Ctr. Sch., 533 U.S. 98 (2001) (holding that a public
school’s exclusion of a Christian student club from meeting after hours on
school property based on its religious nature was unconstitutional); Child
Evangelism Fellowship v. Stafford Sch. Dist., 386 F.3d 514 (3 Cir. 2004)
(granting injunction in favor of religious organization that sought to enjoin a
school district from denying it access to certain public elementary schools to

promote meetings and activities). Again, these cases were decided under

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the Free Speech Clause and not the Establishment Clause. Thus, in each of
these cases the relevant Establishment Clause question was whether a
reasonable observer would conclude that the government was endorsing the
message of the overtly religious symbol that was displayed on or near
government property or whether a reasonable observer would conclude that
the government was endorsing the message of the overtly religious group or
organization that was using its facilities.

Another line of cases in which an “endorsement” inquiry has been applied
involves public funding or providing government resources to overtly
religious organizations that arc engaging in religious activity. See, e.g.,
Zelman v. Simmons-Harris, 536 U.S. 639 (2002); Mitchell v. Helms, 530
U.S. 793 (2000); Agostini v. Felton, 521 U.S. 203 (1997); see generally
Tenafly Eruv Ass’n, Inc. v. Borough of Tenafly, 309 F.3d 144, 174 3" Cir.
2002) (stating, “in cases involving Establishment Clause challenges to
private individuals’ use of government resources, the Court has applied the
endorsement test developed by Justice O’Connor”). The question again
involves whether a reasonable observer would conclude that the government

was endorsing the message of these religious organization.

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In a final line of cases in which an “endorsement” inquiry is loosely applied
involves challenges to policies in which the government is participating in
an overtly religious activity, such as school prayer. For example, Plaintiffs
cite to Santa Fe Indep. Sch. Dist. v. Doe, 530 U.S. 290 (2000), a case
involving prayer in school—a religious activity. A close reading of this
case, however, reveals that it was decided principally under the “coercion”
test articulated in Lee v. Weisman, 505 U.S. 577 (1992). See Sante Fe, 530
U.S. at 301-02 (“Although this case involves student prayer at a different
type of school function, our analysis is properly guided by the principles
that we endorsed in Lee.”). Nevertheless, the Court stated, “In cases
involving state participation in a religious activity, one of the relevant
questions is whether an objective observer, acquainted with the text,
legislative history, and implementation of the statute, would perceive it as a
state endorsement of prayer in public schools.” /d. at 308 (internal
quotation and citation omitted) (emphasis added). See also ACLU v. Black
Horse Pike Reg’! Sch. Bd., 84 F.3d 1471, 1486-87 (3™ Cir. 1996) (enjoining
school policy that permitted prayer in a public school and stating, under its
endorsement inquiry, that “the viewpoint of the reasonable observer

(adherent or nonadherent) helps us to determine if the ‘principle or primary

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effect [is] one that neither advances nor inhibits religion’” and concluding
“that the Board favors the inclusion of prayer’).

Thus, in the school prayer cases, the courts are faced with an overtly
religious practice, prayer, and seek to determine whether the government
policy at issue endorses or favors this religious practice. If it does, it
violates the Establishment Clause.

What is evident from a close inspection of these cases is that the
endorsement test is only applicable when the policy or practice in question
involves a display that 1s either facially religious, such as a créche, the Ten
Commandments, or a Latin cross, or permits an overtly religious group or
organization to use government facilities, or provides for public funding or
government resources to overtly religious groups engaged in religious
activity, or permits an overtly religious practice, such as prayer. The present
case involves none of these issues.

Moreover, the Court notes that he application of the endorsement test
suggested by the Plaintiffs is highly problematic because they seek to use
this test to introduce a vast quantity of evidence that has no meaningful
relationship to the primary purpose or primary effect of the actual policy at

issue. Unlike the cases cited above, there is nothing facially religious

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contained in the one-minute statement that is read to the students, and there
is no forum inquiry that 1s applicable. What is relevant is whether the
principal or primary effect of the policy at issue (1.e., the statement that 1s
read to ninth-grade students in which the words “intelligent design” are
stated twice and which references Pandas and other books in the library that
are critical of intelligent design) advances or inhibits religion. The history
of the “intelligent design movement,” the so-called “Wedge Document” and
“Wedge Strategy,” prior drafts of Pandas, the public filings of FTE,
statements by William Dembski, Phillip Johnston, et al., newspaper articles
and editorials, DASD’s newsletter, Plaintiffs’ experts’ dramatic reading and
histrionic interpretations of the short statement at issue, and the host of
other extraneous matter that Plaintiffs want to incorporate into the modest
curriculum change at issue are not proper for this Court to consider.

The difficulty in applying Plaintiffs’ version of the endorsement test is
readily apparent. Is this Court really to suppose that a ninth-grade student
should be charged with the entire history of religious opposition to the
teaching of evolution, or the alleged change in the legal landscape in 1968
when Epperson was decided, or the factual backgrounds and holdings of

cases such as McLean and Edwards, or the alleged history of the “intelligent

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design movement,” or the opinions, motives, and statements of people such
as Dean Kenyon and Percival Davis, or the history of Pandas and its prior
drafts, or the newsletters and fundraising pieces of FTE, or the so called
“Wedge Document” and “Wedge Strategy,” or the motives of various
Discovery Institute fellows, or the holdings in Freiler, Selman, and a host of
other cases cited by Plaintiffs, or such amorphous and esoteric claims as
“the social meaning of the theory-not-fact circumlocution”? See Pls.’ Br. in
Supp. of Findings of Fact and Conclusions of Law at 43-60 (“Pls.’ Br.”). It
is highly unlikely. Indeed, Plaintiffs offer no principle to limit the scope of
the inquiry they urge.

Moreover, Plaintiffs’ argue that the “reasonable observer” is not limited to
the ninth-grade students actually taking the class in which the challenged
policy will apply, but extends to a “reasonable, objective, informed adult
observer in the Dover community would perceive the challenged policy.”
Pls.’ Br. at 38. But why stop there? Plaintiffs argument would seem to
suggest that the effects of the policy extend to journalists reporting
throughout trial; they heard Defendants’ counsel “defend|ing the Board’s]|
decision to implement the curriculum change publicly.” See Pls.’ Br. at 38.

Maybe this Court should also consider the message conveyed to the nation

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as a whole, since this case has received national press or, given international
coverage, perhaps the U.N. should be consulted.

These obvious problems convince the Court that this case comes down to
the students: They are the policy’s intended audience. Moreover, the only
thing that this Court determine with reasonable certainty is that this
hypothetical ninth-grade student will know when he hears the statement
which implements the curriculum policy, a statement which mentions the
words “intelligent design” twice and references Pandas and other books that
are in the school’s library. It is the reading of this statemen—in a biology
class in which Darwin’s theory of evolution will be taught and the student’s
primary text for this class is Biology, written by Plaintiffs’ expert Professor
Miller, which provides comprehensive coverage of Darwin’s theory of
evolution and presents this theory in a manner that is consistent with its
status in the science community. Thus, the issue for this Court to decide is
whether, from the perspective of a ninth-grade biology student, the primary
effect of DASD’s policy is to advance religion. For the same reasons that
the Court concludes that the Plaintiffs have failed to prove that the primary
effect of the policy is to advance religion, the Court concludes that the

answer to this question is also straightforward: it does not.

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Respectfully submitted,

30 November 2005

    
  

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